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                                       #:2297



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 6   Attorneys for Defendants,
 7
     COUNTY OF LOS ANGELES and SERGEANT TRAVIS KELLY
     (Defendants is exempt from filing fees pursuant to Government Code § 6103)
 8
 9                             UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     JOSHUA ASSIFF,                           Case No.: 2:22-cv-05367 RGK(MAAx)
12
                 Plaintiffs,                  DEFENDANTS’ MOTION IN
13
                                              LIMINE NO. 3 TO PRECLUDE
14               v.                           ANY EVIDENCE, ARGUMENT OR
15                                            TESTIMONY RE: PUBLICATIONS,
     COUNTY OF LOS ANGELES;                   REPORTS, ETC. PERTAINING TO
16   SHERIFF DEPUTY BADGE                     CONDUCT BY LOS ANGELES
17   NUMBER 404532; And DOES 1                COUNTY SHERIFF’S DEPUTIES;
     through 10,                              MEMORANDUM OF POINTS AND
18                                            AUTHORITIES
19               Defendants.
                                              (Declaration of Molshree Gupta Filed
20
                                              Concurrently)
21
22
                                              Action Filed: August 3, 2022
                                              Pretrial Conference: July 10, 2023
23                                            Trial Date: July 25, 2023
24
                                              Assigned to:
25                                            Hon. R. Gary Klausner, District Judge
26                                            Courtroom 850
27
                                              All Discovery Matters Referred to:
28                                            Hon. Maria A. Audero, District Judge


                                              1
     ___________________________________________________________________________________
                                  DEFENDANTS’ MOTION IN LIMINE #3
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 1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE THAT defendants COUNTY OF LOS ANGELES and
 3   SERGEANT TRAVIS KELLY (collectively “Defendants”) hereby move this Court for
 4   an order in limine to preclude Plaintiff JOSHUA ASSIFF and his counsel from
 5   introducing at trial any evidence, references to evidence, witness testimony, contentions,
 6   or cross-examination relating to “NCCD report from 2020 found on the Sheriff’s
 7   Department’s own website entitled, ‘An Analysis of Racial/Ethnic Disparities in Stops
 8   by Los Angeles County Sheriff’s Deputies in the Antelope Valley’” or any other
 9   publications, reports, etc. pertaining to conduct by Los Angeles County Sheriff’s
10   Deputies.
11           Defendants bring this Motion on the grounds that such evidence is irrelevant to the
12   issues to be tried; amounts to inadmissible character evidence; is more prejudicial than it
13   is probative; lacks sufficient evidentiary foundation; and would therefore only serve to
14   unduly prejudice defendants, waste time, confuse the issues, and mislead the jury.
15           Defendants further move this Court to instruct plaintiffs and their counsel and to
16   require them to advise all witnesses:
17           1. Not to attempt to convey to the jury, directly or indirectly, any of the facts
18   mentioned in this Motion without first obtaining permission of the Court outside the
19   presence and hearing of the jury;
20           2. Not to make any reference to the fact that this Motion has been filed; and
21           3. To warn and caution each of plaintiffs’ witnesses to strictly follow the same
22   instructions.
23   / / /
24   / / /
25   / / /
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                                    DEFENDANTS’ MOTION IN LIMINE #3
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 1         This motion is made following compliance with the meet and confer requirements
 2   of Local Rule 7-3. This Motion is based upon the Memorandum of Points and
 3   Authorities and Declaration of Molshree Gupta, served herewith, upon the pleadings and
 4   papers on file herein, and upon such other and further oral argument and evidence as
 5   may be presented at the hearing on this Motion.
 6
 7   Dated: June 9, 2023                   KJAR, MCKENNA & STOCKALPER, LLP

 8
 9
                                     By: ___________________________________
10
                                         PATRICK E. STOCKALPER
11                                       MOLSHREE GUPTA
                                         Attorneys for Defendants,
12
                                         COUNTY OF LOS ANGELES and SERGEANT
13                                       TRAVIS KELLY
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                                 DEFENDANTS’ MOTION IN LIMINE #3
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 1
                     MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.    INTRODUCTION & ARGUMENT
 3
           This is a 42 U.S.C. §1983 alleged excessive force case arising out of a traffic stop
 4
      and subsequent arrest of Plaintiff JOSHUA ASSIFF (“Plaintiff”) by Defendant
 5
      SERGEANT TRAVIS KELLY (“Defendant Kelly”) on September 24, 2021, in the
 6
      Santa Clarita Valley. Plaintiff alleges that Defendant Kelly pulled him over for no
 7
      apparent reason; tasered, choked, pepper sprayed and beat him; and arrested him
 8
      without probable cause, all in violation of his constitutional rights.
 9
           Plaintiff’s First Amended Complaint alleges that “[a]ccording to an NCCD report
10
      from 2020 found on the Sheriff’s Department’s own website entitled, “An Analysis of
11
      Racial/Ethnic Disparities in Stops by Los Angeles County Sheriff’s Deputies in the
12
      Antelope Valley” the report found that Black drivers… (See, Exhibit 2) This problem
13
      with racial profiling and discriminatory traffic stops in the Antelope Valley is not an
14
      isolated single incident, but rather a persistent and ongoing problem…”              [First
15
      Amended Complaint, Dckt. #27, ¶ 21.]
16
           Defendants anticipate Plaintiff will attempt to introduce evidence, references to
17
     evidence, witness testimony, contentions, or cross-examination relating to the “NCCD
18
     report from 2020 found on the Sheriff’s Department’s own website entitled, ‘An
19
     Analysis of Racial/Ethnic Disparities in Stops by Los Angeles County Sheriff’s Deputies
20
     in the Antelope Valley’” or any other publications, reports, etc. pertaining to conduct by
21
     Los Angeles County Sheriff’s Deputies. However, Defendants have introduced evidence
22
     in support of their Motion for Partial Summary Judgment which establishes that
23
     Defendant Kelly was assigned to the Santa Clarita Valley Station of the LASD on the
24
     date of the subject incident. The foregoing evidence further establishes that Defendant
25
     Kelly never worked for the LASD in the Antelope Valley.
26
           For the foregoing reasons, and those set forth below, Defendants respectfully
27
     request the Court preclude such evidence at trial.
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                                  DEFENDANTS’ MOTION IN LIMINE #3
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 1    II.   LEGAL AUTHORITY FOR MOTIONS IN LIMINE
 2          A motion in limine “is any motion, whether made before or during trial, to exclude
 3   anticipated prejudicial evidence before the evidence is actually offered.” Luce v. United
 4   States (1984) 469 U.S. 38, 40. Motions in limine are well recognized in practice and by
 5   case law. See Ohler v. United States (2000) 529 U.S. 753, 758; United States v. Cook
 6   (9th Cir. 1979) 608 F.2d 1175, 1186.
 7          The purpose is to avoid the futile attempt of “unring[ing] the bell” when jurors
 8   have seen or heard inadmissible evidence, even when stricken from the record. See
 9   Brodit v. Cambra (9th Cir.2003) 350 F.3d 985, 1004-05 (citing Kelly v. New West Fed.
10   Sav. (1996) 49 Cal. App. 4th 659, 669). Motions in limine also serve to streamline trials,
11   by settling evidentiary disputes in advance. See U.S. v. Tokash (7th Cir. 2002) 282 F.3d
12   962, 968.
13   III.   THE SUBJECT EVIDENCE IS WHOLLY IRRELEVANT TO THE CLAIMS
14          IN THIS CASE
15          Evidence is relevant if it has any tendency to make a fact more or less probable
16   than it would be without the evidence, and the fact is of consequence in determining the
17   action. Fed. R. Evid. 401. Relevant evidence is admissible unless barred by the U.S.
18   Constitution, a federal statute, the Federal Rules of Evidence, or other U.S. Supreme
19   Court rules. Fed. R. Evid. 402. Irrelevant evidence is not admissible. Fed. R. Evid. 402.
20          Here, the “NCCD report from 2020 found on the Sheriff’s Department’s own
21   website entitled, ‘An Analysis of Racial/Ethnic Disparities in Stops by Los Angeles
22   County Sheriff’s Deputies in the Antelope Valley’” or any other publications, reports,
23   etc. pertaining to conduct by Los Angeles County Sheriff’s Deputies, have no tendency
24   to make any disputed fact that is of consequence to the determination of this action more
25   or less probable. What is relevant to the claims alleged in this case is whether there were
26   complaints of Defendant Kelly’s use of force or arrests, whether such complaints were
27   investigated and resulted in disciplinary action, and the results of investigations
28


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                                   DEFENDANTS’ MOTION IN LIMINE #3
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 1   involving excessive use of force or a departure from, or violation of, established
 2   procedures or policy.
 3         However, Defendants have introduced evidence in support of their Motion for
 4   Partial Summary Judgment which establishes that Defendant Kelly was assigned to the
 5   Santa Clarita Valley Station of the LASD on the date of the subject incident. The
 6   foregoing evidence further establishes that Defendant Kelly never worked for the LASD
 7   in the Antelope Valley. Therefore, such evidence would be irrelevant, and in turn, the
 8   Court should preclude it from trial.
 9   IV.   THE SUBJECT EVIDENCE SHOULD BE BARRED AS INADMISSIBLE
10         CHARACTER EVIDENCE
11         Evidence of a person’s character or character trait is not admissible to prove that
12   on a particular occasion the person acted in accordance with the character or trait. Fed.
13   R. Evid. 404. The Ninth Circuit has long held that evidence of prior acts of a Defendant
14   police officer in a civil rights action is inadmissible. Gates v. Rivera (9th. Cir. 1993) 993
15   F.2d, 697, 700. In Gates, the defendant police officer, Rivera, was allowed to testify that
16   in his 16-1/2 years as a police officer, he had not shot anyone and that he had never
17   before discharged his weapon. Id. at 700. The Appellate Court noted that such evidence
18   was not admissible in a civil rights action under Federal Rules of Evidence 404, and held
19   that such evidence was irrelevant since intent was not an issue in an excessive force case.
20   Ibid. Rather, the question to be resolved is whether objectively, the officer’s use of force
21   was reasonable. Ibid.
22         “In any event, issues of motive and intent are especially irrelevant in [excessive
23   force cases]. A test “in an excessive force case is an objective one.” [Citation omitted].
24   Thus, “an officer’s evil intentions will make a 4th Amendment violation out of an
25   objectively reasonable use of force; nor will an officer’s good intentions make an
26   objectively unreasonable use of force constitutional.” Morgan v. City Marmaduke, Ark.
27   (8th Cir. 1992) 958 F.2d 207, 212, citing Graham v. Connor (1989) 490 U.S. 386, 397,
28   109 Sup. Ct. 1865, 104 L.E.2d 443.


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                                   DEFENDANTS’ MOTION IN LIMINE #3
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 1
           Here, the reason plaintiffs would attempt to introduce evidence of the “NCCD
 2
     report from 2020 found on the Sheriff’s Department’s own website entitled, ‘An
 3
     Analysis of Racial/Ethnic Disparities in Stops by Los Angeles County Sheriff’s Deputies
 4
     in the Antelope Valley’” or any other publications, reports, etc. pertaining to conduct by
 5
     Los Angeles County Sheriff’s Deputies, would be to show the bad character of the
 6
     LASD (i.e. Defendant County) in general. This is demonstrated by Plaintiff’s continued
 7
     reliance on this evidence despite knowing that that Defendant Kelly was assigned to the
 8
     Santa Clarita Valley Station of the LASD on the date of the subject incident. Plaintiff
 9
     continues this assertion despite being in possession of evidence, by and through
10
     Defendants’ Motion for Partial Summary Judgment, that Defendant Kelly never worked
11
     for the LASD in the Antelope Valley.
12
           Despite being aware that this kind of evidence is explicitly barred by Rule 404, as
13
     it would amount to inadmissible character evidence, Plaintiff will argue that during the
14
     subject incident the deputies acted in accordance with his alleged bad character.
15
     Accordingly, the Court should preclude this evidence.
16
     V.    THE SUBJECT EVIDENCE SHOULD BE EXCLUDED PURSUANT TO FRE
17
           403
18
           The court may exclude relevant evidence if its probative value is substantially
19
     outweighed by a danger of one or more of the following: unfair prejudice, confusing the
20
     issues, misleading the jury, undue delay, wasting time, or needlessly presenting
21
     cumulative evidence. Fed. R. Evid. 403. Rule 403 requires the prejudice be "unfair."
22
     U.S. v. Young (D.S.D. 1990) 754 F. Supp. 739, 742. "Unfair" in this context means the
23
     evidence has an undue tendency to suggest a jury decision based upon an improper basis,
24
     usually an emotional one. Id. at 742. Additionally, where evidence is not closely related
25
     to the issue being charged and is otherwise irrelevant, the probative value of such
26
     evidence is substantially outweighed by the danger of unfair prejudice. U.S. v. Guerrero
27
     (9th Cir. 1984) 756 F.2d 1342, 1348; U.S. v. Black (9th Cir. 1994) 20 F.3d 1458, 1464.
28


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                                  DEFENDANTS’ MOTION IN LIMINE #3
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 1           Even if evidence of the “NCCD report from 2020 found on the Sheriff’s
 2   Department’s own website entitled, ‘An Analysis of Racial/Ethnic Disparities in Stops
 3   by Los Angeles County Sheriff’s Deputies in the Antelope Valley’” or any other
 4   publications, reports, etc. pertaining to conduct by Los Angeles County Sheriff’s
 5   Deputies, had any probative value, which it does not, it would be substantially
 6   outweighed by a danger of unfair prejudice to Defendants. If the jury hears evidence of
 7   any other purported wrongdoing by any other member of LASD, it will likely punish
 8   Defendant County of Los Angeles for that other wrongdoing, regardless of the liability
 9   in this case.
10           Moreover, because the subject evidence has no probative value, introduction of
11   such evidence will inherently waste time. Moreover, by introducing evidence of the
12   “NCCD report from 2020 found on the Sheriff’s Department’s own website entitled, ‘An
13   Analysis of Racial/Ethnic Disparities in Stops by Los Angeles County Sheriff’s Deputies
14   in the Antelope Valley’” or any other publications, reports, etc. pertaining to conduct by
15   Los Angeles County Sheriff’s Deputies, the jury will likely believe that it must decide
16   issues relating to those other incidents, thereby confusing the issues and misleading the
17   jury.
18           In short, any probative value of such evidence is substantially outweighed by the
19   probability that its admission will create substantial danger of unfair prejudice, of
20   confusing the issues, and of misleading the jury, and waste time. For this reason as well,
21   the Court should preclude the subject evidence from trial.
22   VI.     MEET AND CONFER
23           On June 8, 2023, and on June 9, 2023, counsel for Defendants wrote to counsel for
24   Plaintiff to request to met and conferred on the substance of this Motion in Limine.
25   Gupta Decl. ¶4. No agreement could be reached. Gupta Decl. ¶ 4.
26 VII.      CONCLUSION
27           Based on the foregoing, defendants respectfully request the Court grant this
28   Motion in Limine, and preclude plaintiffs and their counsel from introducing at trial any


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                                   DEFENDANTS’ MOTION IN LIMINE #3
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 1   evidence, references to evidence, witness testimony, contentions, or cross examination
 2   relating to the “NCCD report from 2020 found on the Sheriff’s Department’s own
 3   website entitled, ‘An Analysis of Racial/Ethnic Disparities in Stops by Los Angeles
 4   County Sheriff’s Deputies in the Antelope Valley’” or any other publications, reports,
 5   etc. pertaining to conduct by Los Angeles County Sheriff’s Deputies.
 6
 7   Dated: June 9, 2023                  KJAR, MCKENNA & STOCKALPER, LLP

 8
 9
                                     By: ___________________________________
10
                                         PATRICK E. STOCKALPER
11                                       MOLSHREE GUPTA
                                         Attorneys for Defendants,
12
                                         COUNTY OF LOS ANGELES and SERGEANT
13                                       TRAVIS KELLY
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                                 DEFENDANTS’ MOTION IN LIMINE #3
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 1                               CERTIFICATE OF SERVICE

 2         I am employed in the County of Los Angeles, State of California; I am over the
 3   age of eighteen years and not a party to the within action; my business address is 841
     Apollo Street, Suite 100, El Segundo, California 90245.
 4
 5          On June 9, 2023, I served the foregoing document described as DEFENDANTS’
     MOTION IN LIMINE NO. 3 TO PRECLUDE ANY EVIDENCE, ARGUMENT
 6
     OR TESTIMONY RE: PUBLICATIONS, REPORTS, ETC. PERTAINING TO
 7   CONDUCT BY LOS ANGELES COUNTY SHERIFF’S DEPUTIES;
 8
     MEMORANDUM OF POINTS AND AUTHORITIES on all interested parties in this
     action by placing a true copy thereof in a sealed envelope addressed as follows:
 9
10                            SEE ATTACHED SERVICE LIST
11
12         By Mail I caused such envelope(s) to be deposited in the mail at El Segundo,
           California. The envelope was mailed with postage thereon fully prepaid and
13
           addressed to the parties listed on the Service List. I am “readily familiar” with the
14         firm’s practice of collection and processing correspondence for mailing. It is
15
           deposited with U.S. postal service on that same day in the ordinary course of
           business. I am aware that on motion of party served, service is presumed invalid
16         if postal cancellation date or postage meter date is more than 1 day after date of
17         deposit for mailing in affidavit.

18   XX    By Email Based upon a court order or an agreement of the parties to accept
19         electronic service, I caused the documents to be sent to the persons at the
           electronic service addresses listed in the Service List. My email address is
20
           mnixon@kmslegal.com.
21
           By Personal Service I caused such document to be Personally Served on the
22
           parties listed in the Service List.
23
24   XX    State I declare under penalty of perjury under the laws of the State of California
           that the foregoing is true and correct.
25
26         Executed on June 9, 2023, at El Segundo, California.
27
28                                         Maria Nixon


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     ___________________________________________________________________________________
                                  DEFENDANTS’ MOTION IN LIMINE #3
Case 2:22-cv-05367-RGK-MAA    Document 62 Filed 06/09/23     Page 11 of 11 Page ID
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 1                                    SERVICE LIST

 2                    Assiff, Joshua vs. County of Los Angeles, et al.
 3                 Central District- Case No.: 2:22-cv-05367 RGK(MAAx)
 4
      Thomas M. Ferlauto, Esq.                           Attorney for Plaintiff,
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 6
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 7    EM: tmf@lawofficetmf.com
 8
      Philip Cohen, Esq.                                 Co-Attorney for Plaintiff.
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                               DEFENDANTS’ MOTION IN LIMINE #3
